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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF MICHIGAN

Southern Division

MUSTAFA DOGAN DAIRY
CONSULTING, LLC,

Plaintiff,
-V58-
LA COLOMBE TORREFACTION, INC.,

Defendant,

Michael P. Risko (P45817)
Risko Law Office, P.C.
Attorney for Plaintiff

250 Washington Avenue
Grand Haven, MI 49417
(616) 847-1400
risko@lakemichiganlaw.com

Case No. 1:17-cv-00277
Hon. Paul L. Maloney

Jared D. Bayer

Cozen O'Connor

Attorney for Defendant

One Liberty Place

1650 Market Street, Suite 2800
Philadelphia, PA 19103
Phone: (215) 665-4127
jbayer@cozen.com

Derek D. McLeod (P76229}
Jaffe Raitt Heuer & Weiss, P.C.
Attorney for Defendant

27777 Franklin Road, Ste 2500
Southfield, Ml 48034

(248) 351-3000
dmcleod@jaffelaw.com

PLAINTIFF'S BRIEF IN OPPOSITION TO DEFENDANT’S MOTION TO QUASH

TRIAL SUBPOENAS

ORAL ARGUMENT REQUESTED
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CONCISE STATEMENT OF ISSUES PRESENTED
Whether this Court should enter an order (1) quashing the trial subpoenas issued
to three of Defendant's officers, and (2) granting Defendant sanctions pursuant to Fed R
Civ P 45(d)(3) for the undue burden incurred by Defendant's officers in complying with

the subpoenas.

CONTROLLING AUTHORITY - APPLICABLE FEDERAL RULES OF PROCEDURE
Fed. R. Civ. P. 45
STATEMENT OF FACTS

This lawsuit is Plaintiff's effort to collect the $500,000 that was promised to him by
Defendant in exchange for the highly specialized services of Plaintiff's principal, Mustafa
Dogan, in transitioning a West Michigan facility (previously owned by a Greek yogurt
company operated by Mr. Dogan} to produce Defendant's latte coffee product. There is
no dispute that Plaintiff was promised the $500,000 in compensation; Defendant's refusal
to pay is based upon its CEO's position that the majority of the $500,000 should come
from equity received by Mr. Dogan from the sale of the facility.

The three individuals that are subject to the subpoenas, JP Iberti, Charles Chupein
and Martin Mack are the company president, Chief Operating Officer and
Controller/Director of Finance, respectively. Mr. lberti is also an owner of Defendant.

Defendant both purchased the West Michigan facility and contracted with Plaintiff
to transition the facility in the spring of 2016. Both Mr. Iberti and Mr. Chupein have testified
that they have traveled to Defendant's West Michigan facility. Both have also been
present in West Michigan to participate in this litigation. Mr. Chupein has been present on

multiple occasions, including as recently as June 6, 2018.

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The subpoenas at issue in the present motion were, indeed, served by first class
mail which was sent by counsel for Plaintiff to counsel for Defendant. Plaintiff has not
prepaid any witness fees to these personally involved corporate officers.

LAW AND ARGUMENT
The Subpoenas Were Properly Served

This is a diversity action that originated in the Muskegon Circuit Court for the State
of Michigan. MCR 2.506(G)(4) specifically provides that a subpoena to attend directed to
a party’s officer, director or manager may be served in the manner provided by MCR
2.107. MCR 2.107({B)(1) specifically provides that service shall be made upon the attorney
representing the party. MCR 2.107(C) provides that first-class maii constitutes
appropriate service. Therefore, applying the local prevailing process for serving a party's
officers, Plaintiff has accomplished proper service of the subpoenas.

Local state policy has been followed in recent federal court decisions from this
circuit. Judges in the Michigan districts have repeatedly held that rule 45 does not require
personal service. See, e.g., OceanFirst Bank v Hartford Fire ins. Co, 794 F Supp 2d 752,
754 (ED Mich 2011); Nithyananda Dhanapeetam of Colombus v Rao, 2016 Dist. LEXIS
55227, 2016 WL 1637559, at 3 (ED Mich April 26, 2016); Halawani v Wolfenberger, 2008
US Dist. LEXIS 100482, 2008 WL 518813, at 4 (ED Mich Dec. 10, 2008). Mailing by first
class mail generally will suffice. OceanFirst, 794 F Supp 2d at 754 (citations omitted).
Payment of Witness Fees is not Required For Defendant's Officers/Managers

MCR 2.506(G)(4) specifically provides that, when the subpoena orders the
attendance of an officer, director or manager of a party, “fees and mileage need not be

paid.” The local state policy complies with federal policy in this regard.

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As a general rule, parties may not normally collect witness fees. See Hodge v
Seiler, 558 F 2d 284, 287 (5th Cir.1977); C. Wright, A. Miller & M. Kane, 10 Federal
Practice and Procedure Civil 2d § 2678, at 376 (1983 & Supp.1992). See also Haroco v
American Nat'l Bank & Trust of Chicago, 38 F.3d 1429, 1442 (7th Cir.1994). This
prohibition has been held to extend to real parties in interest. Morrison v Alleluia Cushion
Co., 73 F.R.D. 70, 71 (N.D.Miss.1976); Modick v Carvel Stores of New York, Inc., 209
F.Supp. 361, 365 (S.D.N.Y.1962); Wright, Miller & Kane, supra, at 376 n. 11. Beneficiaries
to an estate are generally deemed to be the real parties in interest in litigation affecting
that estate. See, e.g., Alderman v Chrysler Corp., 480 F Supp. 600, 604 (E.D.Va.1979).
Although the officers subpoenaed in this action are not actual parties to the lawsuit, as
the officers (and in the case of Mr. Iberti as an owner) of Defendant, they have a vested
interest in the litigation and therefore are “real parties.”

Furthermore, there is no requirement in the statute that provides for payment of
witness fees (28 USC 1827) that the witness fees be prepaid, particularly in the case
where the “witness” is an officer of a party. Clearly, Plaintiff has no ability to determine
the amount that would be appropriate, including travel costs. If Defendant prevails at trial,
it can request reimbursement for these costs as is typically done. See, e.g., Kemart Corp.
v Printing Arts Research Laboratories, Inc., 232 F.2d 897 (9"" Circ 1956).

Defendant Is Not Entitled to Sanctions

Defendant makes a baseless request for costs and attorney's fees based upon
Fed R Civ P 45(d)(1). As a preliminary matter, this provision of the court rule protects the
“person subject to the subpoena” from “undue burden,” not a party. None of the three
individuals that are subject to the subpoenas has complied with the subpoenas and

appeared at trial. None of the three have incurred any undue burden or expense.

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Defendant's incurrence of attorney fees related to preparing and filing this motion
does not constitute an “undue burden” or expense incurred by any of the three individuals
identified in the subpoenas. Defendant's request must therefore be denied.

CONCLUSION

The means of service of a subpoena should be accomplished in a manner that is
“reasonably calculated to achieve actual delivery.” Mullane v Central Hanover Bank &
Trust Co., 339 U.S. 306, 314, 70 S.Ct. 652, 94 L.Ed. 865 (1950). Defendant does not
dispute that the subpoenas were received. Pursuant to local rules and policies, service of
Defendant’s officers and manager by mail, upon counsel for Defendant, is proper.

Because the three individuals that are subject to the subpoena are officers or
managers of Defendant, no witness fee for mileage is required pursuant to local practice
and policy. Therefore, service was proper.

For these reasons, Plaintiff respectfully requests that Defendants’ present motion

be denied in its entirety.

Respectfully submitted,

Dated: July 19, 2018 Risko Law Office, P.C.

By: /s/ MPR
Michael P. Risko (P45817)
Risko Law Office, P.C.
Attorney for Plaintiff
250 Washington Avenue
Grand Haven, MI 49417
(616) 847-1400

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CERTIFICATE OF SERVICE

The undersigned attorney, Michael P. Risko, hereby certifies that on July 19, 2016,
the foregoing document, Plaintiffs Brief in Opposition to Defendant’s Motion to Quash
Subpoenas has been filed via the court’s ECF resulting in notice/service of this instrument

upon counsel of record.

Respectfully submitted,
Risko Law Office, P.C.

By: __ /s/ MPR
Michael P. Risko (P45817)
Risko Law Office, P.C.
Attorney for Plaintiff
250 Washington Avenue
Grand Haven, MI 49417
(616) 847-1400

